                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                               3:03cr84-2

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
Vs.                                              )             ORDER
                                                 )
JONNA KATRICE HOWARD,                            )
                                                 )
                     Defendant,                  )
                                                 )
and                                              )
                                                 )
NOVANT HEALTH, INC.,                             )
                                                 )
                 Garnishee.                      )
_______________________________                  )

       THIS MATTER is before the court on the government’s Motion for Dismissal of

Writ of Continuing Garnishment. Having considered the government’s motion and reviewed

the pleadings, the court enters the following Order.



                                         ORDER

       IT IS, THEREFORE, ORDERED that the government’s Motion for Dismissal of

Writ of Continuing Garnishment (#91) is GRANTED, and the writ against such defendant

as to such garnishee is DISMISSED.



                                             Signed: February 24, 2012




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